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   EXHIBIT 208
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                              UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF KENTUCKY
                            NORTHERN DIVISION AT COVINGTON




     JOHN ANTONY,                                          )
                                                           ) Civil Action No. 2:18-cv-00205-DLB-CJS
             Plaintiff,                                    )
                                                           ) Judge David L. Bunning
     V.                                                    )
                                                           ) Magistrate Judge Candace J. Smith
     BUENA VISTA BOOKS, INC.,                              )
                                                           )
             Defendant.                                    )
                                                           )

          DEFENDANT'S AMENDED RESPONSES AND OBJECTIONS TO PLAINTIFF'S
                         FIRST SET OF INTERROGATORIES


            Defendant Buena Vista Books, Inc. ("Defendant" or "Buena Vista") hereby responds and

    objects to Plaintiff John Antony's First Set of Interrogatories as follows:


                                      PREFATORY STATEMENT

            1.      By responding to Plaintiff's First Set of interrogatories, Buena Vista does not


    waive any privilege or objection that may be applicable to: (a) the use, for any purpose, by

    Plaintiff of any information or documents sought by Plaintiff or provided in response to an


    Interrogatory; (b) the admissibility, relevance, or materiality of any of the information or

    documents to any issue in this case; or (c) any demand for further responses involving or relating

    to the subject matter of any of the Interrogatories.

            2.      Buena Vista's responses are based on information reasonably available to Buena


    Vista as of the date of these responses. Buena Vista's investigation is continuing and ongoing.

    Subject to and without waiving any of its objections set forth herein, Buena Vista reserves the

    right to alter or to supplement these responses as additional information becomes known to it, but




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    undertakes no obligation to do so beyond the obligations imposed by the Federal Rules of Civil

    Procedure, the Local Rules, and Orders of this Court.

                                       GENERAL OBJECTIONS

           The following General Objections apply to and are incorporated into each and every

    response to each and every specific Interrogatory, whether or not such General Objections are

    expressly incorporated by reference in such response.

            1.     Buena Vista objects to each and every Interrogatory, definition, and instruction to

    the extent that it attempts to impose obligations inconsistent with or in addition to those required

    by the Federal Rules of Civil Procedure, the Local Rules or Orders of this Court, or any other

    applicable authority.

           2.      Buena Vista objects to each and every Interrogatory, definition, and instruction as

    overly broad, unduly burdensome, and not proportional to the needs of this case to the extent that

    it is not reasonably limited in scope, or seeks information neither relevant to any issue in this

    case nor reasonably calculated to lead to the discovery of admissible evidence, particularly to the

    extent that compliance would force Buena Vista to incur asubstantial expense that outweighs

    any likely benefit of the discovery.

           3.      Buena Vista objects to each and every Interrogatory, definition, and instruction to

    the extent that it lacks areasonable time limitation, including but not limited to, because it poses

    an undue burden on Buena Vista. To the extent Buena Vista agrees to produce information in

    response to aspecific Interrogatory, it will do so on atimeframe that is reasonable, taking into

    account the nature and scope of the individual Interrogatory and what is proportional to the needs

    of the case. Unless otherwise specified—as Buena Vista has, for example, with respect to the

    Interrogatories seeking financial information—Buena Vista limits its production to the timeframe

    of January 1, 2013 to December 17, 2018 (the "Relevant Timeframe").


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            4.      Buena Vista objects to each and every Interrogatory, definition, and instruction to

    the extent that it seeks information or documents protected by the attorney-client privilege, work

    product doctrine, or any other applicable law, privilege, or immunity, protection, or doctrine.

    Buena Vista claims such privileges and protections to the extent implicated by each

    Interrogatory, and excludes privileged and protected information from its responses. The

    production of any privileged information or document by Buena Vista is unintentional, and any

    such inadvertent production shall not be construed as awaiver of any applicable objection or

    privilege.

            5.      Buena Vista objects to each and every Interrogatory, definition, and instruction to

    the extent that it calls for alegal conclusion. Any response by Buena Vista shall not be

    construed as providing alegal conclusion regarding the meaning or application of any terms or

    phrases used in Plaintiffs Interrogatories, definitions, or instructions.

            6.      Buena Vista objects to each and every Interrogatory, definition, and instruction to

    the extent that it seeks information or documents already in the possession of or more readily

    available to Plaintiff, that are equally available to Plaintiff as they are to Buena Vista, or that

    could be derived or ascertained by Plaintiff with substantially the same effort that would be

    required of Buena Vista.

            7.      Buena Vista objects to each and every Interrogatory, definition, and instruction to

    the extent that it seeks information or documents not within Buena Vista's possession, custody,

    or control.

            8.      Buena Vista objects to each and every Interrogatory, definition, and instruction to

    the extent that it is unreasonably cumulative or duplicative.




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             9.     Buena Vista objects to each and every Interrogatory, definition, and instruction to

    the extent that it seeks any confidential, proprietary, competitively sensitive, trade secret

    information, financial information, or any other information or documents that Buena Vista is

    not permitted to disclose pursuant to confidentiality or other legal obligations to third parties.

             10.    Buena Vista objects to each and every Interrogatory, definition, and instruction to

    the extent that it contains subparts or acompound, conjunctive, or disjunctive request.


             11.    Buena Vista objects to each and every Interrogatory, definition, and instruction to

    the extent that it calls for Buena Vista to form and then render an expert opinion.

             12.    Buena Vista objects to each and every Interrogatory, definition, and instruction to


    the extent that it is argumentative.

             13.    Buena Vista objects to each and every Interrogatory, definition, and instruction to

    the extent that it is speculative, lacks foundation, or contains characterizations, definitions, or


    assumptions. Nothing contained in or absent from Buena Vista's responses, objections, or

    production shall constitute, or be deemed as, an admission, concession, or agreement that


    Plaintiffs characterizations, definitions, or assumptions are correct or accurate.

             14.    Buena Vista objects to each and every Interrogatory, definition, and instruction to


    the extent that it purports to require Buena Vista to compile information in amanner that is not

    maintained in the ordinary course of business, or to create documents, including but not limited


    to charts, tables, reviews, proposals, methodologies, and/or breakdowns, that do not already

    exist.

             15.    Buena Vista objects to each and every Interrogatory as overly broad, unduly


    burdensome, and not proportional to the needs of this case to the extent that it calls for the


    production of "all" documents and/or communications concerning asubject matter, without




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    regard to whether the documents are likely to be privileged, duplicative, and/or have any (or

    minimal) connection to the claims or defenses at issue in this case.

            16.    Buena Vista objects to each and every Interrogatory to the extent it seeks

    discovery of documents or electronically stored information from sources that are not reasonably

    accessible in light of the burdens or costs required to locate, restore, review, and produce

    whatever responsive information may be found. To the extent that any Interrogatory requires the

    identification or production of email currently in electronic form, or any other electronic

    communications or electronically stored information, and Buena Vista agrees to conduct asearch

    of media reasonably likely to contain the same, Buena Vista will search readily accessible email

    or other electronic media in relation to individual custodians or other sources likely to have

    responsive documents. Buena Vista will not search emails that are inaccessible or that are overly

    burdensome to restore and/or search (e.g., disaster recovery tapes), or other media containing

    electronically stored information that are inaccessible or unduly burdensome to search.

             OBJECTIONS TO PLAINTIFF'S DEFINITIONS AND INSTRUCTIONS

            1.     Buena Vista's responses, regardless of whether they include aspecific objection,

    do not constitute an adoption or acceptance of the definitions and instructions that Plaintiff seeks

    to impose.

           2.      Buena Vista objects to the defined terms "Defendant" and "Buena Vista Books,

    Inc." and to each and every Interrogatory containing those terms, on the ground that they are

    overly broad, unduly burdensome, and not proportional to the needs of this case to the extent that

    this term purports to obligate Buena Vista to search across the hundreds of entities affiliated with

    Buena Vista. Buena Vista will conduct areasonable search taking into account the nature and

    scope of the individual Interrogatory and what is proportional to the needs of the case. Unless

    otherwise specified—for example, in response to the Interrogatories for financial information-


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    to the extent Buena Vista's responses and objections use the terms "Defendant" or "Buena Vista

    Books, Inc.," these terms shall refer only to Buena Vista Books, Inc. and not information that

    relates to its present and former officers, directors, partners, consultants, employees, agents,

    representatives, counsel, its past and present subsidiaries, or all persons and entities acting or

    purporting to act under its control or on its behalf.

             3.     According to Plaintiff's definition, the term "Defendant's Work" would

    encompass "all" works "containing the same characters or relating to the same storyline" created

    by anyone, whether or not related in any way to Buena Vista. Buena Vista objects to the defined

    term "Defendant's Work" and to each and every Interrogatory containing that term, on the

    ground that it is vague and ambiguous to the extent that it purports to include any novel,

    publication, or work besides The Zodiac Legacy novels Convergence, Dragon            Return, and

    Balance of Power; the e-books The Vanguard Archives and The Zodiac Archives; and the comic

    books Tiger Island, Power Lines, and The Age of Bronze. Thus, to the extent Buena Vista's

    responses and objections use the term "Defendant's Work," it shall refer only to Convergence,

    Dragon's Return, Balance of Power, The Vanguard Archives, The Zodiac Archives, Tiger Island,

    Power Lines, and The Age of Bronze.

             4.     Buena Vista objects to the defined term "document" and to each and every

    Interrogatory containing those terms, to the extent the definition seeks to impose an obligation

    beyond Federal Rule of Civil Procedure 34(a). Buena Vista will construe those terms in

    accordance with the Federal Rules of Civil Procedure, the Local Rules, and the Orders of this

    Court.

             5.     Buena Vista objects to the defined term "communication" and to each and every

    Interrogatory containing those terms, on the ground that it is vague, ambiguous, overly broad,




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    unduly burdensome, and not proportional to the needs of this case to the extent that this term

    purports to impose an obligation beyond Federal Rule of Civil Procedure 34(a) and to the extent

    this term is duplicative and cumulative of the defined term "document." Buena Vista will

    construe this term in accordance with the Federal Rules of Civil Procedure, the Local Rules, and

    Orders of this Court.

           6.      Buena Vista objects to the defined term "relating to" and to each and every

    Interrogatory containing that term, on the ground that it is vague, ambiguous, overly broad, and

    unduly burdensome, and to the extent it requires Buena Vista to speculate as to whether

    documents "relate" to the topic specified. Buena Vista will construe this term in accordance with

    its plain English meaning.

           7.      Buena Vista objects to the defined term "person" and to each and every

    Interrogatory containing those terms, on the ground that it is vague, ambiguous, overly broad,

    unduly burdensome, and not proportional to the needs of this case. Buena Vista will construe

    this term in accordance with its plain English meaning.

                                 RESPONSES TO INTERROGATORIES

    INTERROGATORY NO.!:

           Identify all persons who have knowledge or information regarding the allegations in the

    Complaint, as amended, and the admissions, denials and affirmative defenses stated in

    Defendant's Answer.

    RESPONSE TO INTERROGATORY NO.!:

           Buena Vista incorporates its Prefatory Statement, General Objections, and Objections to

    Plaintiff's Definitions and Instructions. Buena Vista further objects to this Interrogatory as

    premature as discovery is ongoing. Buena Vista further objects to this Interrogatory on the




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    INTERROGATORY NO. 19:

             For each year since the creation of Defendant's Work, state the revenues received,

    expenses incurred, and profits realized in connection with Defendant's Work.

    RESPONSE TO INTERROGATORY NO. 19:

             Buena Vista incorporates its Prefatory Statement, General Objections, and Objections to

    Plaintiff's Definitions and Instructions. Buena Vista further objects to this Interrogatory as

    seeking highly-sensitive confidential business information. Buena Vista further objects to this

    Interrogatory as overly broad, unduly burdensome, not proportional to the needs of this case, and

    not relevant to any party's claims or defenses to the extent it seeks information regarding

    revenues, expenses, and profits pre-dating December 17, 2015. Buena Vista further objects that

    this Interrogatory calls for alegal conclusion, is premature, and the subject of expert testimony.

             Subject to and without waiving the foregoing objections, and subject to entry of an

    appropriate protective order, Buena Vista responds as follows: Buena Vista directs Plaintiff to

    BV-000 16644, which is adocument showing the revenues received, and costs and expenses

    incurred (excluding overhead costs), in connection with Defendant's Work.

             Buena Vista's investigation is ongoing, and Buena Vista reserves the right to supplement

    this response, including with respect to identification of overhead costs allocable to Defendant's

    Works.

    INTERROGATORY NO. 20:

             For each year since its creation, state the revenues received, expenses incurred, and

    profits realized in connection with The Zodiac Legacy: Convergence print and digital

    publications.

    RESPONSE TO INTERROGATORY NO. 20:




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             Buena Vista incorporates its Prefatory Statement, General Objections, and Objections to


    Plaintiffs Definitions and Instructions. Buena Vista further objects to this Interrogatory as

    seeking highly-sensitive confidential business information. Buena Vista further objects to this

    Interrogatory as overly broad, unduly burdensome, not proportional to the needs of this case, and


    not relevant to any party's claims or defenses to the extent it seeks information regarding

    revenues, expenses, and profits pre-dating December 17, 2015. Buena Vista further objects that

    this Interrogatory calls for alegal conclusion, is premature, and the subject of expert testimony.

    Buena Vista further objects that this Interrogatory is duplicative of Interrogatory No. 19.

             Subject to and without waiving the foregoing objections, and subject to entry of an


    appropriate protective order, Buena Vista responds as follows: Buena Vista directs Plaintiff to

    BV-000 16644, which is adocument showing the revenues received, and costs and expenses

    incurred (excluding overhead costs), in connection with The Zodiac Legacy: Convergence.

             Buena Vista's investigation is ongoing, and Buena Vista reserves the right to supplement


    this response, including with respect to identification of overhead costs allocable to Defendant's


    Works.




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                                         Respectfully submitted,
                                         By:          /s/ Robert B. Craig


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                                           PROOF OF SERVICE

    STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

          At the time of service, Iwas over 18 years of age and not aparty to this action. Iam
    employed in the County of Los Angeles, State of California. My business address is 350 South
    Grand Avenue, Fiftieth Floor, Los Angeles, CA 90071-3426.

            On December 6, 2022, Iserved true copies of the following document(s) described as:

            DEFENDANT'S AMENDED RESPONSES AND OBJECTIONS TO PLAINTIFF'S
            FIRST SET OF INTERROGATORIES

    on the interested parties in this action as follows:

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           BY MAIL: Ienclosed the document(s) in asealed envelope or package addressed to the
    persons at the addresses listed above and placed the envelope for collection and mailing,
    following our ordinary business practices. Iam readily familiar with the firm's practice for
    collecting and processing correspondence for mailing. On the same day that correspondence is
    placed for collection and mailing, it is deposited in the ordinary course of business with the
    United States Postal Service, in asealed envelope with postage fully prepaid.

            BY E-MAIL OR ELECTRONIC TRANSMISSION: Icaused acopy of the
    documents to be sent from e-mail address shannon.aminirad@mto.com to the persons at the e-
    mail addresses listed above. Idid not receive, within areasonable time after the transmission,
    any electronic message or other indication that the transmission was unsuccessful.

            Ideclare under penalty of perjury under the laws of the United States of America that the
    foregoing is true and correct.




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          Executed on December 6, 2022, at Los Angeles, California.




                                                        /s/ Shannon Aminirad
                                                 Shannon Aminirad




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